Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 1 of 17




            EXHIBIT 2
 Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 2 of 17




                                  IN THE UNITED STATES DISTRICT COURT
     2
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
     3
     4    RlCHARD A. GORMAN

     5                        Plaintiff,                          CIVIL ACTION NO. 14-08 O
                 v.
 6
                                                                  DEFENDANT JOHN C.
 7       JOHN C. MONARCH,                                         RESPONSES TO PLAIN IFF
         KARL F. STEINBORN,                                       RICHARD A. GORMAN' FIRST
 8       WWW.PERFORMOUTSIDER.COM                                  SET OF JURISDICTION L
 9       JOHN DOE I, JOHN DOE 2 and                               INTERROGATORIES
         JOHNDOE3
IO
                                 Defendants.
11
12               Defendant John Monarch ("Defendant"), by and through undersigned coun el, responds
13
         to Plaintiff Richard A. Gonnan 's First Set of Jurisdictional Interrogatories as folio s:
14
                                                GENERAL STATEMENT
15
16              Defendant's responses are based upon information presently available to h m following

17       a reasonable inquiry. Discovery is still ongoing, however, and Defendant reserve the right to
18       amend, supplement or change his objections and responses if and when additional infonnation
19
         becomes available.
20
                                           GENERAL OBJECTIONS
21
22                      Defendant objects to all discovery requests to the extent they a e overbroad,

23       vague, ambiguous, unduly burdensome, and irrelevant to the subject matter of his litigation
24
         and/or not reasonably calculated to lead to the discovery of admissible evidence.
25
                2.      Defendant objects to the Interrogatories to the extent they see infonnation
26
27       unrelated to the issue of whether the Court may lawfully exercise jurisdiction ov r Defendant,

28       for which purpose the Court granted limited discovery.

                3.      Defendant objects to Plaintiffs Interrogatories to the extent
 Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 3 of 17




          disclosure of information protected by the attorney-client privilege, and such i

     2    not be disclosed.

     3             4.    Defendant objects to Plaintiffs' Interrogatories to the extent       at they seek
 4
          information prepared in anticipation of litigation or protected by the work-produ   doctrine, and
 5
          such information will not be disclosed.
 6
 7                 5.    Defendant objects to all discovery requests as unduly burdensome, unreasonable,

 8       and oppressive to the extent they call for information which is part of the public r cord, which is
 9       otherwise equally available to all parties, or to which the propounding party has e ual or greater
10
         access.
11
                   6.    Defendant objects to Plaintiffs Interrogatories to the extent they   e served for
12
13       harassment, oppression, or delay.

14                 7.    Defendant objects to all discovery requests to the extent that they ·mpose duties
15
         and obligations that exceed or are different than those imposed by the Federal ules of Civil
16
         Procedure and/or applicable Court orders in this action.
17
                   8.    Defendant objects to Plaintiffs Interrogatories to the extent that th y exceed the
18
19       pennitted number.

20                 9.    Each of the foregoing objections is hereby incorporated in each an every one of
21
         the following responses, whether or not they are specifically identified.
22
23
24
                                        RESPONSE TO INTERROGATORIES

25                                             INTERROGATORY NO 1.
26
                   Describe in detail any affiliation or relationship you have ·or had               with
27
         www.performoutsider.com, either personally or professionally, including any          filiation or
28
         relationship   you   have    or had        with any   operator, representative, or agent      of
         www.performoutsider.com.

                                                          2
     Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 4 of 17




     1
     2                              RESPONSE TO INTERROGATORY NO. 1.
     3
     4             Defendant objects to this Interrogatory on the grounds that it contains     ore than one

     5    Interrogatory and thus is an attempt to circumvent the limit on the number of In errogatories.
 6
          Defendant further objects to this Interrogatory as overbroad, vague, and ambiguo s and that it
 7
          contains multiple layers of compound questions. Defendant interprets the Int rrogatory to
 8
 9       request      information   about    Defendant's      relationship   between            dant    and

10       perfonnoutsider.com whether or not such communication pertained to Plaintiff.
11                 Subject to and without waiving the forgoing objections, Defendant answer as follows:
12
         Defendant is a casual acquaintance with the person believed to be th                    owner of
13
         Perfonninsider.com, known only as Illya, Ilya S, Illya S, Ilya Putin, Ilya BLT, or II a ("Ilya").
14
15
16                                          INTERROGATORY NO. 2
17
                Identify and describe all content you have posted on www.performoutsider. om, and set
18
         forth the dates upon which the content was posted.
19

20
                                    RESPONSE TO INTERROGATORY NO. 2.
21
22
                Defendant objects to this Interrogatory on the grounds that it contains m re than one
23
         Interrogatory and thus is an attempt to circumvent the limit on the number of Int rrogatories.
24
         Defendant further objects to this Interrogatory as overbroad, vague, and ambiguou and that it
25
26       contains multiple layers of compound questions.

27              Subject to and without waiving the forgoing objections, Defendant answer as follows:
28
         Defendant has not posted any content on www.performoutsider.com and does not ave access



                                                         3
  Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 5 of 17




          to post, edit, author, or manipulate content on www.performoutsider.com in any w y.
     1
     2
     3                                     INTERROGATORY NO. 3.
     4
                 If you provided any content to a third party who subsequently posted su h content on
     5
          www.perfonnoutsider.com, identify the third party's name, address, and telephon number, the
   6
         posted content, and the date upon which the content was posted.
  7
  8
                                   RESPONSE TO INTERROGATORY NO. 3.
  9
 10
                 Defendant objects to this Interrogatory on the grounds that it contains m re than one
 11
 12      Interrogatory and thus is an attempt to circumvent the limit on the number of In errogatories.

 13      Defendant objects to the Interrogatory to the extent that it is requesting infonnati n that is not
. 14
         relevant, overbroad, and not calculated to lead to the discovery of admissible evide ce in that it
 15
         seeks infonnation unrelated to this lawsuit, without limitation.
16
                 Subject to and without waiving the forgoing objections, Defendant answer as follows:
17
18       Defendant did not provide any content to any third party who subsequently posted uch content

19       on www.performoutsider.com.
20
21
                                           INTERROGATORY NO. 4
22
23              Identify the name, address, and telephone number of the "operator of t e Website"
24       which you reference in paragraph 21 of your March 10, 2014 Declaration, attached s Exhibit B
25       to your "Reply to Plaintifrs Response to Motion to Dismiss for Lack of Personal urisdiction"
26       filed April 4, 2014.
27
28



                                                          4
     Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 6 of 17




     1                             RESPONSE TO INTERROGATORY NO. 4.
     2
                 Defendant objects to this Interrogatory to the extent it seeks factua           information
     3
          unrelated to the issue of whether the Court may lawfully exercise jurisdiction ov r Defendant,
     4
          for which purpose the Court granted limited discovery.
     5
 6               Subject to and without waiving the forgoing objections, Defendant answers as follows:

 7       Defendant only knows the "operator of the Website" as Ilya as discussed above. He claims to
 8
         live in Toronto, Canada; however, Defendant does not have an address or phone nu ber for this
 9
         individual.
IO
11
12                                         INTERROGATORY NO. 5
13              If you contend that the postings on www.performoutsider.com concern ng Plaintiff
14
         Richard A. Gorman are targeted towards the "Internet marketing community," desc ihe in detail
15                                                  .
         the basis for this belief, identify all individuals with information about this matter, and identify
16
17       all documents that relate to your response.

18
19
                                   RESPONSE TO INTERROGATORY NO. 5.
20
21
                Defendant objects to this Interrogatory on the grounds that it contains m e than one
22
         Interrogatory and thus is an attempt to circumvent the limit on the number of Int rrogatories.
23
         Defendant further objects to this Interrogatory as overbroad and containing multip e layers of
24
25       compound questions. This Interrogatory is overbroad and unduly burdensome to t e extent it

26       requests Defendant to identity all documents, without limitation, that relate to        efendant's
27
         response. Defendant objects to this Interrogatory to the extent it seeks factual nformation
28
         unrelated to the issue of whether the Court may lawfully exercise jurisdiction over Defendant,


                                                          5
 Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 7 of 17




          for which purpose the Court granted limited discovery.

     2           Subject to and without waiving the forgoing objections, Defendant answer as follows:

     3    Defendant knows that the Website is targeted towards the global IM Community b sed upon the
     4
          content contained on the Website.    Again, any and eve,y person who is invol ed in the IM
     5
          Community should be able to look at the Website and identify that it is targeted to ards the IM
     6
 7        Community given the nature of the topics and articles discussed on the Website. The postings

 8       about Plaintiff on the Website make up an extremely small portion of all the c ntent on the
 9       Website discussing and pertaining to popular topics in the IM Community.
IO
II
                                          INTERROGATORY NO. 6
12

13              Describe in detail the affiliation and/or relationship between Direct O tbound and
14       www.perfonnoutsider.com, including an explanation as to when, why, and h               the name

15       "Direct Outbound" was placed on the front page/masthead ofwww. erformoutside .com.

16
17                                RESPONSE TO INTERROGATORY NO. 6.

18
19              Defendant objects to this Interrogatory on the grounds that it contains m re than one

20       Interrogatory and thus is an attempt to circumvent the limit on the number oflnterr gatories.
21
                Subject to and without waiving the forgoing objections, Defendant answer as follows:
22
         Direct Outbound, through Defendant, is a casual acquaintance with the person b lieved to be
23
         the owner of Performinsider.com, known only as Illya or Ilya ("Ilya"). Ilya di not obtain
24
25       permission before putting Direct Outbound's ("DOS") logo on the front page/ asthead of

26       www.performoutsider.com (the "Website"). He put logos from various companies t the top of
27
         the Website because he is friendly with these companies. Defendant is uncertain w en the logos
28
         were put on the Website. Defendant believes the Website started around January or February of


                                                         6
     Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 8 of 17




          2013, and that Defendant learned about the logos being on the Website in or arou d of August

     2    2014.

     3
     4                                       INTERROGATORY NO. 7
     5
 6                Identify and describe all messages, communications, postings, or tweets y u have sent
 7       or received using the @performoutsider Twitter Account, and set forth the dates up n which the
 8       all messages, communications, postings, or tweets were sent or received.
 9
10                                   RESPONSE TO INTERROGATORY NO. 7.
11
12                Defendant objects to this Interrogatory on the grounds that it contains m re than one
13       Interrogatory and thus is an attempt to circumvent the limit on the number of Int rrogatories.
14
         Defendant objects to this Interrogatory as unduly burdensome, unreasonable, and ppressive to
15
         the extent it calls for information that is equally available to all parties. Plaintiff is ust as easily
16
17       capable of looking at the Twitter Postings online and has the same access to II •~tweets"

18       received from the Twitter Account in question as Defendant.
19                Subject to and without waiving the forgoing objections, Defendant answe as follows:
20
         Defendant does not currently own, and has never owned, controlled or utilized, or have access
21
         to the @performoutsider Twitter account (the "POT Account"). And Defendant d es not have
22
23       access to post, edit, author, or manipulate content on the POT Account in any ay shape or

24       form.
25
26                                           INTERROGATORY NO. 8
27
28                If you provided any content to a third party who subsequently posted, twe ted, or sent
         such content via message or other communication using the @performoutsider Twit er Account,


                                                            7
  Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 9 of 17




          identify the third party's name, address, and telephone number, the relevant co tent, and the
     2    date upon which the content was posted.
     3
     4                             RESPONSE TO INTERROGATORY NO. 8.
     5
     6           Defendant objects to this Interrogatory as overbroad, vague and ambiguo s and that it

     7    contains multiple layers of compound questions.       This Interrogatory appea      to request
     8
          communications that were sent via the POT Account, and Defendant interprets the nterrogatory
  9
          accordingly.
 10
 11              Subject to and without waiving the forgoing objections, Defendant answe s as follows:

12       Defendant has not provided any content to a third party who subsequently poste , tweeted, or
13       sent such content via the POT Account.
14
15                                        INTERROGATORY NO. 9.
16
                Identify all communications you have transmitted by any means (inclu ing, but not
17
         limited to, social media services such as Twitter or Facebook) to Plaintiff Richard A. Gorman,
18
         using either your own name, a pseudonym, or anonymously.
19
20
                                  RESPONSE TO INTERROGATORY NO. 9.
21
22              Defendant answers as follows: Defendant has only transmitted one com unication to

23       Plaintiff, and it was via Defendant's personal twitter account (@papajohn56). I
24       Plaintiff tweeted something to the extent of Florida State University becoming #I i the college
25
         football rankings. This was during the time that Jameis Winston (quarterback) wa involved in
26
         a rape accusation scandal, so Defendant tweeted to Plaintiff something to the extent f "FSU #1
27
28       for rapists am I right?" Plaintiff responded by saying that Defendant was on hi radar, and

         proceeded to call Defendant a "pussy boy." These communications have been del ted as they

                                                        8
Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 10 of 17




          were very unprofessional.
     1

     2                                    INTERROGATORY NO. 10.

     3                                             '
                 Identify all communications you have transmitted by any means (incl            ing, but not
     4
          limited to, social media services such as Twitter or Facebook) to any third party    hich relate or
     5
          refer in any way to Plaintiff Richard A. Gom1an, using either your own name, a p eudonym, or
     6
          anonymously.
 7
                                  RESPONSE TO INTERROGATORY NO. 10.
 8
 9               Defendant objects to this Interrogatory as overbroad and to the extent t at it requests
10
         information protected by the attorney-client privilege, joint defense, or work pro uct doctrine.
11
         Defendant objects to the Interrogatory to the extent that it is requesting informati n that is not
12
13       relevant and not calculated to lead to the discovery of admissible evidence in that i requests the

14       identification of communications that relate to Plaintiff in any way, without limitat on.
15               Subject to and without waiving the forgoing objections, Defendant answe as follows:
16
         Defendant has produced all non-privileged, relevant documentation pursuant to FR P 33(d).
17
18
                                          INTERROGATORY NO. 11.
19
20              Identify all communications you have transmitted by any means (inclu ing, but not
21       limited to, social media services such as Twitter or Facebook) to any employ e, agent, or
22       representative of Brand.com, using either your own name, a pseudonym, or anony ously.
23
24                               RESPONSE TO INTERROGATORY NO. 11.
25
26              Defendant objects to this Interrogatory to the extent that it is requesting inti rmation that

27       is not relevant, overbroad, and not calculated to lead to the discovery of admissi le evidence.
28       Defendant further objects to the extent it is requesting information that Plaintiff a ready has in



                                                          9
Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 11 of 17




     his possession, custody or control, or could obtain directly from Brand.com.
 1

 2          Subject to and without waiving the forgoing objections, Defendant answ rs as follows:

 3   Defendant is unaware of any employee, agent, or representative of Brand.co          that he has
 4   communicated with other than Plaintiff Gorman.
 5
6
                                     INTERROGATORY NO. 12.
 7
 8
            Identify all communications you have transmitted by any means (inclu ing, but not
 9
     limited to, social media services such as Twitter or Facebook) to any third party w ich relate or
10
     refer in any way to Brand.com, using either your own name, a pseudonym, or anon mously.
11
12
                            RESPONSE TO INTERROGATORY NO. 12.
13
14          Defendant objects to this Interrogatory as overbroad, unduly burdensom , and to the
15
     extent that it requests information protected by the attorney-client privilege, join defense, or
16
     work product doctrine. Defendant objects to the Interrogatory to the extent that it ·s requesting
17
18   information that is not relevant, overbroad, and not calculated to lead to the iscovery of

19   admissible evidence.    The Interrogatory requests information about ALL of Defendant's
20
     communications to third parties regarding Brand.com, who is not a party to th"s case, and
21
     whether or not such communications pertained to Plaintiff. Defendant further o ·ects to this
22
     Interrogatory because it seeks factual information unrelated to the issue of wheth r the Court
23
24   may lawfully exercise jurisdiction over Defendant, for which purpose the Court gr nted limited
25   discovery.
26
27
28
     Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 12 of 17




                                          INTERROGATORY NO. 13.
     1
     2
     3           Identify the name, address, and telephone number of any business or comp ny in which

     4    you have had an ownership interest or for which you have worked as an               mployee or
     5    independent contractor from January I, 2013 until the present.

     6
     7                            RESPONSE TO INTERROGATORY NO. 13.

     8
                 Defendant objects to this Interrogatory as overbroad and unduly burden ome to the
 9
          extent it seeks information that is unrelated to Plaintiff and to the extent it seeks information
10
11       unrelated to the issue of whether the Court may lawfully exercise jurisdiction ove Defendant,
12       for which purpose the Court granted limited discovery.
13
14
                                          INTERROGATORY NO. 14.
15
16
                Describe any business you have conducted in Pennsylvania, either ind' idually or
17
         through any entity with which you are affiliated.
18

19
                                  RESPONSE TO INTERROGATORY NO. 14.
20
21              Defendant objects to this Interrogatory as overbroad and unduly burdens me to the
22
         extent it seeks information that is unrelated to Plaintiff and to the extent it seeks nformation
23
         unrelated to the issue of whether the Court may lawfully exercise jurisdiction over Defendant,
24
25       for which purpose the Court granted limited discovery.            The Interrogatory ppears to

26       wrongfully include irregular and de minimis purchases and/or transactions, wh ch clearly
27       cannot constitute substantial or continuous and systematic contacts with the foru       state for
28
         purposes of general jurisdiction, as well as transactions that have absolutely no r levance to



                                                        11
    Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 13 of 17




         Plaintiff.
     1
     2           Subject to and without waiving the forgoing objections, Defendant answe s as follows:

     3   Defendant is unaware of any business that he has, or his entities have,              onducted in
     4
         Pennsylvania.
     5
                                          INTERROGATORY NO. 15.
     6
     7           Describe in detail any occasion on which you were personally present in ennsylvania
     8   between January I, 2013 and the present.
     9
                                  RESPONSE TOINTERROGATORYNO.15
    10
    11           Defendant objects to the Interrogatory to the extent that it is requesting in£ rmation that

    12   is not relevant, overbroad, unduly burdensome, and is designed to harass and oppress
    13   Defendant. Defendant objects to this Interrogatory to the extent it seeks informat on unrelated
    14
         to the issue of whether the Court may lawfully exercise jurisdiction over Defend t, for which
    15
    16   purpose the Court granted limited discovery.

    17           Subject to and without waiving the forgoing objections, Defendant answers s follows:

    18   Defendant was in Philadelphia, Pennsylvania in August 2013 at a conference. No ew business
    19
         was obtained while in Pennsylvania and none of Defendant's clients are located in
    20
         Pennsylvania.
    21
    22
                                           INTERROGATORY NO. 16.
    23
    24           Identify all documents you reviewed in order to provide the respon s to these

    25   Interrogatories.
I   26
    27
\   28
I
                                                          12
    Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 14 of 17




                                      RESPONSE TO INTERROGATORY NO. 16.
         I
         2
         3           Defendant objects to the Interrogatory to the extent that it is requesting in onnation that
         4
              is not relevant, overbroad, unduly burdensome, and is designed to harass and oppress
     5
              Defendant. Defendant objects to this Interrogatory to the extent it seeks inform tion unrelated
     6
              to the issue of whether the Court may lawfully exercise jurisdiction over Defend t, for which
     7
     8        purpose the Court granted limited discovery. Defendant objects to this Interr gatory to the
     9       extent that it requests infonnation protected by the attorney-client privilege, joi t defense, or
    10
             work product doctrine.
    11
                     Subject to and without waiving the forgoing objections, Defendant answ s as follows:
    12
    13       Defendant reviewed the Complaint filed by the Plaintiff. Additionally, Defendant has produced

    14       all non-privileged, relevant documentation pursuant to FRCP 33(d).
    15
    16                                        INTERROGATORY NO.17.

1   17
                    Identify all persons who assisted or participated in the preparation of yo r answers to
    18
             these Interrogatories, and the specific answers, which they were involved in prepar ng.
    19
    20                                RESPONSE TO INTERROGATORY NO. 17.
    21
    22              Defendant objects to the Interrogatory to the extent that it is requesting in nnation that

    23       is not relevant, overbroad, unduly burdensome, and is designed to harass and oppress
    24
             Defendant. Defendant objects to this Interrogatory to the extent it seeks informat on unrelated
    25
             to the issue of whether the Court may lawfully exercise jurisdiction over Defenda t, for which
    26
             purpose the Court granted limited discovery. Defendant objects to this Interro atory to the
    27
    28       extent that it requests infonnation protected by the attorney-client privilege, joi   defense, or

             work product doctrine.

                                                             13
Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 15 of 17




            Subject to and without waiving the forgoing objections, Defendant answe s as follows:

 2   Defendant's counsel, Daniel R. Warner and Aaron M. Kelly, assisted Defendant in preparing all

 3   of the foregoing answers.
4

 5
            DATED this 1st day of May, 2014.
 6
                                               Isl Daniel R. Warner
 7                                             Daniel R. Warner, Esq.
 8                                             Arizona Bar # 026503
                                               (Admitted Pro Hae Vice)
 9                                             KELLY I WARNER, PLLC
                                                8283 N. Hayden Road, Suite 229
10                                              Scottsdale, Arizona 85258
11                                             Tel: 480-331-9397
                                                Fax: 1-866-961-4984
12                                              Email: dan@kellywamerlaw.com
13
                                                Isl Matthew Glazer
14                                              Matthew Glazer, Esq.
15                                              COZEN O'CONNOR
                                                 I 900 Market St
16                                              Philadelphia, PA I 9103
                                                (215) 665-2000
17                                              MGlazer@cozcn.com
18                                              Attorneys for Defendant Monarch

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27
28



                                                   14
Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 16 of 17




 1                                  CERTIFICATE OF SERVICE
 2
           I hereby certify that, on the same date set forth above, via First Class Unit d States Mail
 3   and email, I transmitted the foregoing document to the following:
 4
            Matthew D. Lee, Esq.
 5          Lee-m@blankrome.com
            John P. Wixted, Esq.
 6          jwixted@blankrome.com
            BLANK ROME L.L.P.
 7
            One Logan Square
 8          130 N. 1gth Street
            Philadelphia, PA 19103
 9          Attorneys for Plaintiff
10          Eric Trajtenberg, Esq.
11          eric@chescolawfirm.com
            32 S. Church St.
12          West Chester, PA 19382
            Attorney for Plaintiff
13
14
15
                                          Isl Jill Loy
16                                        Employee of Kelly I Warner, PLLC
17
18
19
20
21
22
23
24

25
26
27
28



                                                     15
Case 2:20-cv-04759-CMR Document 13-5 Filed 04/27/21 Page 17 of 17




                             IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3   RICHARD A. GORMAN,                                         Civil Action No. 14-0890

 4                             Plaintiff,
 5                                                              VERIFICATION OF JO N
     vs.
 6                                                              MONARCH
     JOHN MONARCH;
 7   WWW.PERFOR.IvIOUTSIDER.COM; KARL F.
 8   STEINAORN; JOHN DOES 1-3,
 9 ,,.___ _ _ _ _ _ _Defendants.
                      _ _ _ _ _ _ _ ___.

IO
11   I, John Monarch, declare as follows:

12          1.        I am a resident of the State of South Carolina, am over the age of 18 years, and if

13   called to testify in court I could and would truthfully testify to the following info   ation based

14   upon my own personal knowledge.
15          2.        I have read and know the contents of DEFENDANT JOHN C. M ~ARCH'S

16   RESPONSES TO PLAINTIFF RICHARD A. GORMAN'S FIRST REQUES                                  FOR THE
17   PRODUCTION OF JURISDICTIONAL DOCUME~TS, as well as DEFENDA
18   MONARCH'S RESPONSES TO PLAINTIFF RICHARD A. GORMAN'S FIR 'T SET OF
19   JURISDICTIONAL INTERROGATORIES (collectively the "Discovery Reques s"), and the
20   matters and things therein stated are true and con·ect to the best ofmy knowledge       d belief.
21                    All documents produced in response and/or pursuant to the Discov ry Requests
            3.
22   are, to the best of my personal knowledge and belief; true and correct copies f what they
23
     purport to be.
24
            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under th laws of the
25
     United States of America that the foregoing is true and correct.
26
                      EXECUTED ON: May j_ 2014. _....../-•--",                .
27                                                     (' ---

28
